CRIMINAL CASE COVER SHEET                                              U.S. ATTORNEY'S OFFICE


Defendant Name:       JERRY LYNN MORRELL

Place of Offense (City & County):       Bristol, Sullivan County

Juvenile:   Yes           No     x         Matter to be Sealed: Yes      No       x

Interpreter: No_x_ Yes                    Language:

Total # of Counts: _ _ Petty _ _ Misdemeanor (Class __ )                      3       Felony


                                             ORIGINAL INDICTMENT                                     Count(s)
                                U.S .C. Citation(s) and Description of Offense Charged

  Set I       Possess with the intent to distribute methamphetamine (21 USC section 84l(a)(l))   1
              Possession of a firearm in furtherance of a drug trafficking offense (18 USC       2
              § 924(c)(l)(A))
              Possession ofa firearm by a prohibited person (18 U.S.C. § 922(g)(l))              3

Current Trial Date (if set):                                       before Judge
                               ----------
Criminal Complaint Filed: No _ x_         Yes          Case No.
                                                                   -------------
Defendant on Supervised Release: Yes__             No _x__

Violation Warrant Issued? No_ _ Yes                    Case No.

Related Case(s):


Case Number            Defendant's attorney        How related


Case Number            Defendant's attorney        How related

Criminal Informations:
Pending criminal case:           No _x_y es        __Gase No.

New Separate Case                               Supersedes Pending Case _ _ _ __

Name of defendant's attorney:

Retained:                            Appointed:


Date:




Case 2:20-cr-00042-JRG-CRW Document 1-1 Filed 03/10/20 Page 1 of 1 PageID #: 3
